                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


PARKER POE,                                   )
    Plaintiff,                                )        Civil Action No. 3:24-cv-368
                                              )        Judge Crenshaw/Frensley
v.                                            )        Jury Demand
                                              )
DR. MELANIE LOWE, ET AL.                      )
     Defendants.                              )


                                              ORDER

         Pending before the Court is an emergency motion to intervene for the limited purpose of

protecting the anonymity of third-party Simon Roe and to seal Plaintiff’s Proposed Amended

Complaint (Docket No. 25-1) and prohibit further disclosure of Roe’s identity. Docket No. 28. A

supporting memorandum has been filed. Docket No. 29. For the reasons set forth herein, the

Motion is GRANTED IN PART.1

         The third party “Simon Roe” has filed the instant motion following the filing of a Proposed

Amended Complaint (Docket No. 25-1) which includes the identity of Roe and his father. Roe

contends this identification is contrary to state court orders protecting their anonymity and is

“unnecessary and certain to inflict serious harm on Roe.” Docket No. 28. Roe seeks an Order from

this Court allowing Roe to intervene for the purpose of protecting his anonymity; to immediately

place the proposed Amended Complaint under seal on an emergency basis; to enter an Order

requiring that all Parties preserve Roe’s anonymity by refering to him by using the pseudonym



1 Local Rule 7.01(b) permits the Court to act on a motion prior to the time allowed for response.
The Court does not believe it necessary to wait 21 days for this matter to be briefed in light of the
issues.




     Case 3:24-cv-00368      Document 30          Filed 06/28/24    Page 1 of 2 PageID #: 610
“Simon Roe” adopted by Poe in the Original Complaint and referring to his family members using

related pseudonyms; and set a telephone conference to coordinate any additional briefing or

determination required to make any such orders permanent. Docket No. 28.

       Briefing is not completed and the Court has not ruled upon Plaintiff’s motion for leave to

file their First Amended Complaint. Given that the Proposed Amended Complaint includes the

identity of Roe and in light of the collateral state court proceedings, the Court finds it appropriate

to allow Roe to intervene for the limited purposes of protecting his anonymity. Further, until such

time as the Court can rule on the motion to amend as well as Roe’s request to make any reference

to him be by pseudonym permanent, it is appropriate to preserve his anonymity.

       For the reasons set forth herein, the Motion (Docket No. 28) is GRANTED IN PART.

The Clerk of Court is directed to place the Proposed Amended Complaint (Docket No. 25-1) under

seal. Further, all Parties shall preserve Roe’s anonymity by referring to him using the pseudonym

“Simon Roe” in any further filings until such time as the Court rules otherwise.

       The Parties shall meet and confer to determine whether an agreement can be reached

regarding the use of the pseudonym “Simon Roe” that would resolve Roe’s motion. The Parties

shall file a joint status report on or before July 12, 2024, confirming they have discussed the

requested relief and the status of same. In the event the parties are unable to reach an agreement,

Roe may file an appropriate motion by July 19, 2024, to be briefed in the manner prescribed by

the Local Rules of Court. Until such time as the Court rules on any forthcoming motion, the

Proposed Amended Complaint shall remain under seal and the Parties are required to preserve

Roe’s anonymity as set forth herein.

       IT SO ORDERED.

                                                              JEFFERY S. FRENSLEY
                                                              United States Magistrate Judge




  Case 3:24-cv-00368         Document 30        Filed 06/28/24      Page 2 of 2 PageID #: 611
